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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                         CASE NO.: 3:03cr101/LAC
                                                 3:04cv458/LAC/MD
MARCO TOMAS MENDEZ, SR.
_____________________________________________________________________
                                       ORDER
       Upon consideration of the Report and Recommendation of the Magistrate
Judge filed on April 18, 2005, pursuant to 28 U.S.C. § 636(b)(1)(B), and after
reviewing objections to the Recommendation, if any, the Recommendation is
adopted as the opinion of the Court.
       Accordingly, it is ORDERED:
       The motion to vacate, set aside or correct sentence (doc. 159) is DENIED.


       DONE AND ORDERED this 23rd day of May, 2005.




                                       s /L.A. Collier
                                       LACEY A. COLLIER
                                       SENIOR UNITED STATES DISTRICT JUDGE
